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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA                              )
                                                       )
              Plaintiff,                               )
                                                       )
 v.                                                    )      Case No. 1:12-cr-00102-TWP-KPF
                                                       )
 JOSHUA N. BOWSER,                                     )     -   01
 JAMIE A. BOLINGER,                                    )     -   10
 VANCE CANNER,                                         )     -   12
 STEPHEN D. DUFF,                                      )     -   15
 CHARLES N. ERNSTES, II,                               )     -   20
 CHRISTIAN J. MILLER,                                  )     -   44
                                                       )
              Defendants.                              )

       ENTRY ON DEFENDANT’S MOTIONS FOR TIMELY DISCLOSURE OF
    BRADY/GIGLIO MATERIAL (Dkt. 1606), MOTION FOR COURT TO ESTABLISH
  SCOPE OF BRADY OBLIGATIONS and FOR EXCULPATORY EVIDENCE (Dkt. 1940)

         This matter is currently before the Court on Defendant, Joshua N. Bowser’s (“Mr.

 Bowser”), Motion for Timely Disclosure of Brady/Giglio Material (Dkt. 1606)1 and Motion for

 Court to Establish Scope of the Government’s Brady Obligations and Renewed Motion for

 Exculpatory Evidence (Dkt. 1940). Specifically, Mr. Bowser requests immediate production of

 certain exculpatory and impeachment evidence. For the reasons set forth below, Mr. Bowser’s

 motions (Dkt. 1606 and Dkt. 1940) are DENIED in part and GRANTED in part.

                                           I. BACKGROUND

         Mr. Bowser and 50 others are charged in a forty-nine count Second Superseding

 Indictment with offenses ranging from racketeering acts, drug trafficking, robbery, assault, fraud,

 extortion and witness tampering, in violation of various federal statutes, including Titles 18, 21,

 and 26. The case stems from a four year federal investigation into the Outlaws Motorcycle Club

 (“OMC”). Several of the charged defendants have entered into plea agreements and Mr. Bowser

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  Defendants Charles N. Ernstes, II (Dkt. 1618), Vance Canner (Dkt. 1624), and Stephen D. Duff (Dkt. 1625) have
 each joined Defendant Bowser’s Motion for Timely Disclosure. The Court will refer to Mr. Bowser in the motion
 with the understanding that the named co-defendants have joined.
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 anticipates that a number of the former co-defendants will testify on behalf of the Government as

 cooperating witnesses. Currently, six defendants will proceed to trial. Jury selection is scheduled

 to begin on Friday, September 6, 2013 and the trial is scheduled to commence on Monday,

 September 8, 2013. The trial is expected to last from six to eight weeks.

        The Government has produced approximately 10,000 pages of trial discovery and asserts

 that is has fully complied with its obligations under Fed. R. Crim. P. 16 (a)(1)(A) and (C) by

 providing statements of the defendants and making available for inspection and copying all

 documents produced to the Grand Jury, including invoices from alleged OMC’s racketeering

 acts, evidence collected from execution of search warrants and recordings generated from court-

 authorized wire and electronic surveillance. (See Dkt. 1734 at 2.) In his first motion, Mr.

 Bowser is requesting immediate production of the following materials, which he argues

 constitutes exculpatory and impeachment evidence:

        a. All promises, inducements, incentives, and/or rewards offered to government
           witnesses.

        b. Any evidence that government witnesses in the case have been working with,
           or at the direction of, any local, state, or federal law enforcement agency.

        c. Any information on the training provided to government witnesses, as well as
           any documentation of termination from cooperation.

        d. Any evidence of bias, prejudice, motive to fabricate, lie, or slant testimony on
           the part of government witnesses against the defendants or their families or for
           the government or law enforcement.

        e. Any evidence that any government witness has sought or has been directed to
           seek mental health treatment, including that for substance/alcohol abuse,
           including whether a witness is prescribed or has been prescribed medication
           that may impact the witness’s memory or ability and opportunity to see, hear,
           or know the things the witness will testify about.

        f. Any evidence that the government witness was under the influence of any
           drugs, alcohol, or other intoxicating substances at the time of the event or
           events to which they are testifying or at the time they gave any statement
           concerning those events.

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         g. Any evidence that any government witness has given any statement that is
            inconsistent with any other statement the witness has given or is inconsistent
            with any testimony the government anticipates will be elicited at trial.

         h. Any evidence tending to show a government witness has collected
            impeachment convictions pursuant to Federal Rule of Evidence 609. Mr.
            Bowser requests evidence of prior convictions which are more than ten years
            old if they could be used to enhance a state or federal conviction, such as
            those applicable under 18 U.S.C. 924(e) or after notice by the government
            under 21 U.S.C. 851, or career offender or criminal livelihood enhancements
            under United States Sentencing Guidelines Chapter 4, Part B or similar
            provisions of state criminal codes.

 Dkt. 1606 at 14.

 In response, the Government asserts that based on its current understanding of the evidence it has

 no additional Brady material to disclose and it intends to disclose Giglio material at least seven

 (7) business days prior to trial.

         The Government’s response failed to assuage Mr. Bowser and instead, prompted him to

 file an additional motion (Dkt. 1940). In the subsequent motion, Mr. Bowser disputes that the

 Government has provided all Brady evidence known to it, requests that the Court establish the

 scope of the Government’s Brady obligations and renewed his motion for exculpatory evidence.

                                     II. LEGAL STANDARD

         Under Brady v. Maryland, 373 U.S. 83 (1963), the Government has a duty to produce

 evidence favorable to the accused when “the evidence is material either to guilt or punishment.”

 373 U.S. at 87. “Evidence is material under Brady if, had it been disclosed, there is a reasonable

 probability that the outcome of the trial would have been different.” United States v. Dismas, 3

 F.3d 1015, 1018 (7th Cir. 1993). The Supreme Court in United States v. Agurs, 427 U.S. 97, 110

 (1976), reaffirmed that under Brady, evidence need be disclosed only if it is material and

 expressly rejected the argument that defense should have unfettered or complete access to the

 government's files.


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        Under Giglio v. United States, 405 U.S. 150 (1972), the Brady duty extends to

 impeachment evidence. 405 U.S. at 154. United States v. Bagley, 473 U.S. 667, 676 (1985);

 Bielanski, 550 F.3d 632, 643 (7th Cir. 2008) (quoting Youngblood v. W. Virginia, 547 U.S. 867,

 870 (2006)). Giglio impeachment material typically includes cross-examination materials such

 as immunity agreements, plea agreements, money paid to a witness, and criminal convictions.

 These impeachment materials, however, must be disclosed only once the witness testifies. The

 Seventh Circuit has made it clear that there is nothing in Brady that requires the government to

 prematurely disclose material impeachment evidence, immunity agreements, or preferential

 treatment given to prosecution witnesses in exchange for their testimony before trial. United

 States v. McPartlin, 595 F.2d 1321, 1346 (7th Cir.), cert. denied, 444 U.S. 833, 100 S.Ct. 65, 62

 L.Ed.2d 43 (1979).

                                          III. DISCUSSION

        Mr. Bowser asserts that he is entitled to the materials requested in paragraphs (a) through

 (h) above, pursuant to Brady and Giglio. In response, the Government contends that the specific

 information requested by Mr. Bowser is protected by the Jencks Act. The Jencks Act prohibits

 the “subpoena, discovery, or inspection” of “a statement or report in the possession of the United

 States which was made by a Government witness or prospective Government witness (other than

 the defendant)” until the witness has testified on direct examination. 18 U.S.C. § 3500(a)-(b).

 The Jencks Act defines a statement as:

        (1) a written statement made by said witness and signed or otherwise adopted or
        approved by him;

        (2) a stenographic, mechanical, electrical, or other recording, or a transcription
        thereof, which is a substantially verbatim recital of an oral statement made by said
        witness and recorded contemporaneously with the making of such oral statement;
        or

        (3) a statement, however taken or recorded, or a transcription thereof, if any,
        made by said witness to a grand jury.
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 18 U.S.C. §3500(e).

         Materials that fall under both the Jencks Act exemption and Brady disclosure requirement

 should be disclosed early enough that the defendant is not deprived of his right to a fair trial. See

 United States v. Adams, 834 F.2d 632, 635 (7th Cir. 1987); United States v. Presser, 844 F.2d

 1275 (6th Cir. 1988). In interpreting Brady to determine when evidence should be disclosed, the

 Seventh Circuit has repeatedly held that “the eve of trial or during trial is not too late so long as

 the defendant can make use of [the evidence] to his or her advantage.” Bielanski, 550 F.3d at

 644 (quoting Moore v. Casperson, 345 F. 3d 474, 493 (7th Cir. 2003)); United States v. Grintjes,

 237 F.3d 876, 880 (7th Cir. 2001); United States v. Allain, 671 F.2d 248, 255 (7th Cir. 1982);

 United States v. McPartlin, 595 F.2d 1321, 1343 (7th Cir. 1979). Administration of Brady and

 the Jencks Act is left to the discretion of the Court. United States v. Augenblick, 393 U.S. 348,

 355 (1969) (“Administration of [the Jencks Act] must be entrusted to the good sense and

 experience of trial judges subject to appropriately limited review of appellate courts.”); United

 States v. Palermo, 360 U.S. 343, 355 (1959); United States v. Kimoto, 588 F.3d 464, 474 (7th

 Cir. 2009) (“We review a district court's Brady determination under the standard for an abuse of

 discretion.”).

         The Government asserts that it recognizes the interest of the Court and all parties in

 conducting the trial efficiently and fairly but believes the request for immediate production of

 impeachment materials is entirely unreasonable. The Government denies that it is wrongfully

 withholding Brady materials and reiterates that it does not intend to wait until after the witness is

 called before disclosing Giglio materials, but rather will disclose all Giglio material not later than

 seven days prior to the commencement of trial.

         Mr. Bowser believes the Government is “sitting on a treasure trove of impeachment

 evidence under the purported authority of the Jencks Act” (Dkt. 1606-5) and argues that
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 important evidence favorable to the defense has been wrongly withheld and requests immediate

 disclosure of materials.   According to Mr. Bowser, the circumstances of this case require

 immediate disclosure because of the sheer amount of discovery, the number of defendants, the

 length of investigation, the number of cooperators, the expected length of trial and the fact that

 RICO prosecutions are rare in this district. Mr. Bowser argues that Giglio disclosures one week

 before trial is insufficient and he cannot confirm readiness for trial using the Government’s time

 table.

          After reviewing the submissions of both sides in connection with this motion, the Court

 agrees that disclosure of Brady and Giglio material prior to trial is proper and the prosecution has

 the duty to ensure that criminal trials are fair by disclosing evidence that is favorable to the

 defendants or that impeaches a government witness. And, there is no doubt that Mr. Bowser is

 entitled to disclosure of all evidence that “would tend to exculpate” him, Brady, 373 U.S. at 88,

 and all evidence that casts doubt on the credibility of prosecution witnesses and is material to the

 outcome of the trial. See United States v. Bagley, 473 U.S. 667, 676, 105 S.Ct. 3375, 87 L.Ed.2d

 481 (1985); Giglio, 405 U.S. at 155; see United States v. Hamilton, 107 F.3d 499, 509 (7th

 Cir.1997).

          However, consistent with Supreme Court and Seventh Circuit precedent, Brady does not

 require pretrial disclosure; it demands only that the disclosure not come so late as to prevent the

 defendant from receiving a fair trial. U.S. v. Grintjes 237 F.3d 876 (7th Cir. 2001). The Court

 recognizes the Government’s interest in keeping its witnesses safe from possible harm and

 intimidation. As such, the Court maintains its deadline of September 3, 2013, for all counsel to

 disclose to opposing counsel the names of the witnesses they intend to call at trial. The Court

 cannot order disclosure of Jencks Act material but acknowledges the Government’s promise to




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 produce Jencks Act material at least seven days before the start of trial which is far beyond what

 is required in the Jencks Act.

        The Government concedes that requested items (a), (c) and (d) constitute impeachment

 materials and items (e), (f) and (h) – information concerning prior convictions of its witnesses –

 all constitute Giglio material. The Government states it will disclose these materials at least

 seven days before the commencement of trial. The Seventh Circuit has stated that disclosure of

 Brady material must not occur so late as to deprive a defendant of a fair trial. Based on the

 Government’s representations that it has already disclosed Brady materials and it will continue to

 disclose Brady/Giglio materials no later than seven days before trial, with the exception of item

 (a), the Court cannot find that this amount of time for disclosure of information is insufficient.

        In item (a), Mr. Bowser requests “all promises, inducements, incentives, and/or rewards

 offered to government witnesses.” As then District Judge Tinder noted in United States. v.

 Williams, 792 F.Supp.1120, 1131 (S.D. Ind. 1992), “under Rule 16(a)(1)(C), the defendants are

 entitled to discover this type of information, prior to trial, if it would be material to the

 preparation of the defendant's defense.” Mr. Bowser argues that the credibility of the

 Government’s witnesses, many of whom are cooperating informants, is essential to the defense.

 Further, he argues that the identity of some of the informants is already largely known to the

 defendants and they are not seeking this information to discover the identity of the informants.

 The Court is persuaded. Mr. Bowser has satisfied the Court that information regarding plea

 agreements, promises, inducements and rewards are “material” to the defense and require

 disclosure. This information would be essential to the cross-examination and impeachment of

 any Government witness to be called at trial. Therefore, disclosure of information in item (a), for

 those witnesses the Government intends to call at trial should be disclosed no later than two

 weeks prior to the commencement of trial, or by August 26, 2013.

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        The Court cannot and does not order the production of items (b), (c), (d) or (g), because

 these items either fall under the protection of the Jencks Act or Mr. Bowser has failed to show a

 legitimate reason to compel the disclosure of these materials. Additionally, the Government

 indicates that it is aware of its continuing obligations to produce Brady and Giglio materials as

 they become known to it. It has been repeatedly held that where the government has made

 assurances it will comply with Giglio and Brady, those assurances are sufficient. See Strickler v.

 Greene, 527 U.S. 263, 283 n. 23, 119 S.Ct. 1936, 144 L.Ed.2d 286 (1999).

        Throughout these proceedings, Mr. Bowser has made numerous pleas to the Court that he

 cannot effectively review, investigate, and incorporate an unknown number of pages of material

 in seven days while simultaneously preparing for jury selection and the myriad of other matters

 that arise in the week prior to a multi-month trial. (See Dkt. 1940 at 13). Recognizing that the

 Government also has an interest in preventing delay and extension of an already lengthy trial, the

 Court cannot and will not order, but would encourage the Government to make the remaining

 disclosures sooner than the seven days out that it has promised.

                                       IV. CONCLUSION

        Accordingly, for the reasons set forth above, Mr. Bowser's Motions (Dkt. 1606 and Dkt.

 1940) are GRANTED in part and DENIED in part. The evidence sought in item (a), shall be

 produced no later than two weeks prior to the commencement of the trial. Mr. Bowser’s Motions

 are denied in all other respects.


        SO ORDERED.
       08/08/2013
 Date: _______________
                                                         ________________________
                                                         Hon. Tanya Walton Pratt, Judge
                                                         United States District Court
                                                         Southern District of Indiana


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 DISTRIBUTION:

 Brad Blackington                         Anthony B. Ratliff
 UNITED STATES ATTORNEY’S OFFICE          DONINGER TUOHY & BAILEY LLP
 bradley.blackington@usdoj.gov            aratliff@dtblegal.com

 Doris Pryor                              Thomas A. Brodnik
 UNITED STATES ATTORNEY’S OFFICE          DONINGER TUOHY & BAILEY LLP
 doris.pryor@usdoj.gov                    tbrodnik@dtblegal.com

 Gwendolyn M. Beitz                       Gustin J. Raikos
 INDIANA FEDERAL COMMUNITY                gusto66@hotmail.com
 DEFENDERS
 gwendolyn_beitz@fd.org                   Larry A. Mackey
                                          BARNES & THORNBURG LLP
 Monica Foster                            larry.mackey@btlaw.com
 INDIANA FEDERAL COMMUNITY
 DEFENDERS                                Mark D. Stuaan
 monica_foster@fd.org                     BARNES & THORNBURG LLP
                                          mstuaan@btlaw.com
 Brent Westerfeld
 bwesterfeld@wkelaw.com                   Michael Eugene Allen
                                          ATTORNEY AT LAW
 James C. McKinley                        mallenatty@aol.com
 ATTORNEY AT LAW
 jmckinley@justice.com
                                          Richard Mark Inman
                                          ATTORNEY AT LAW
                                          markinman13@aol.com




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